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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:

NINETY-FIVE MADISON COMPANY, L.P., ,                       Chapter 11

                                                           Case No.: 21-10529 (DSJ)
                          Debtor.




         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE, that Manatt, Phelps & Phillips, LLP hereby appears in the

above-captioned case pursuant to Rule 901(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) as counsel to Branton Realty Services LLC, and requests, pursuant to

Bankruptcy Rules 2002, 907, and 9010 and sections 342 and 1109(b) of Chapter 11, Title 11 of

the United States Code (the “Bankruptcy Code”), that all notices given or required to be given in

this case and all papers served or required to be served in this case be given to and served upon

the undersigned at the following office address, telephone numbers and e-mail addresses:

                      Schuyler Carroll, Esq.
                      Manatt, Phelps & Phillips, LLP
                      7 Times Square
                      New York, NY 10036
                      Telephone: 212-790-4521
                      Facsimile: 212-790-4545
                      Email: scarroll@manatt.com

         PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, motion, petition, pleading, request, complaint or demand, whether formal or
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informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,

telephone, facsimile transmission, e-mail or otherwise, which affect the Debtors or property of

the Debtors.

       This Notice of Appearance and Request for Service of Papers shall not be deemed to be a

waiver of Branton Realty Services LLC’s rights (1) to have final orders in non-core matters

entered only after de novo review by a District Court Judge, (2) to trial by jury in any proceeding

so triable in this case or any case; controversy, or proceeding related to this case, (3) to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, (4) to any other rights, claims, actions, setoffs, or recoupments to which Branton

Realty Services LLC is or may be entitled, in law or in equity, all of which rights, claims,

actions, setoffs, and recoupments Ninety-Five Madison Co. expressly reserves or (5) to any and

all defenses or objections Ninety-Five Madison Co. may have to any claims asserted against it in

this action including, without limitation, any defense based on insufficient service of process,

jurisdiction (including personal jurisdiction), or capacity to be sued.


Dated: New York, New York
       April 17, 2024
                                                       Respectfully submitted,

                                                       MANATT, PHELPS & PHILLIPS, LLP

                                                       By: /s/ Schuyler Carroll______________
                                                       Schuyler Carroll
                                                       7 Times Square
                                                       New York, New York 10036
                                                       Telephone: (212) 790-4521
                                                       scarroll@manatt.com

                                                       Counsel for Branton Realty Services, LLC.




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